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UNlTED STATES DlSTRlCT COURT

SOUTHERN DlSTRiCT OF NEW YORK
_____________________________________________________________________________ X

EMPLOYERS lNSURANCE COMPANY OF WAUSAU,

 

Civil Action No.
Plaintiff,

 

~against-

HARLEYSV!LLE PREFERRED lNSURANCE COMPANY, §§ §
THE TRAVELERS lNDEMNITY COMPANY, and THE z §
§LECTR|CAL EMPLOYERS SELF INSURANCE
SAFETY PLAN,

 

Defendants.

MADAMS/SlRS:

 

 

Plaintiff EMPLOYERS lNSURANCE COMPANY OF WAUSAU
(“Wausau”), by its attorneys, ]AFFE &I ASHER LLP, as and for its Complaint against
defendants HARLEYSV!LLE PREFERRED iNSURANCE COMPANY (“l-iarleysville”), THE
TRAVELERS lNDEMNlTY COMPANY (“Travelers”), and THE ELECTRICAL
EMPLCYERS SELF iNSURANCE SAFETY PLAN (“EESlSP"), alleges as follows:

]UR|SDlCTlQN AND VENUE

l. This Court has jurisdiction over this matter pursuant to 28 U.S.C.
§1332(a) by reason of the diversity of citizenship of the parties and the fact that the
amount in controversy exceeds the sum of $75,000 exclusive of costs.

2. At ali times hereinafter mentioned, Wausau was, and still is, an
insurance company organized under the laws of the State of Wisconsin, With its principal

piace of business iocated at i 75 Berkeley Street, Boston, Massachusetts OZl l?.

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3. At all times hereinafter mentioned, Wausau was, and still is, an
insurance company duiy authorized to conduct business within the State of New Yori<.

4. Upon information and belief, at ail times hereinafter mentioned,
Harleysville was, and still is, an insurance company organized under the laws of the State of
Pennsylvania, with its principal place of business located at 3 5 5 Mapie Avenue,
Harleysville, Pennsyivania l9438.

5. Upon information and beiief, at all times hereinafter mentioned,
l-larieysviile Was, and still is, an insurance company duly authorized to conduct business

within the State of New York.

6. Lipon information and belief, at all times hereinafter mentioned,
Traveiers was, and still is, an insurance company organized under the laws of the State of
Connecticut, with its principal place of business located at One Tower Square, Hartford

Connecticut 06183.

7. Upon information and belief, at all times hereinafter mentioned,
Travelers was, and still is, an insurance company duly authorized to conduct business

within the State of New ¥orl<.

8. Upon information and belief, at ali times hereinafter mentioned,
EESISP is a group self-insured trust created and duly organized under the laws of the State
of New Yorl<, with its principal place of business at l 584 i Harry Van Arsdaie ]r.

Avenue, Flushing, i\iew Yorl<.

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9. Upon information and beliei, as of the commencement oi this suit,
none of the trustees of EESISP are residents or domiciliaries of the States of Wisconsin or
Massachusetts for purposes of diversity lurisdiction.

lO. Upon information and belief, EESISP is duly authorized to provide
worker‘s compensation insurance to l.ocal Union No. 3 members and their employers
within the State of New Yorl<.

l l. Venue is appropriate in the United States District Court for the
Southern District of New Yorl< pursuant to 28 U.S.C. §i 391.

SUBSTANTIVE ALLEGAT!ONS

l2. On or about November l7, ZOl 4, an action entitled W£
Cavataio as Executrix of the Estate of Nicholas Cavataio and Rosanne Cavataio,
individually v. Metropolitan Transportation Authority, Eaton Corp., Miller Auto l.easing
Corp., Monarch Electric Company and Triborough Bridge and Tunnel Authority, index
No. 2542 5/201 4, was commenced in the Supreme Court of the State of New Yorl<,
County of Bronx (the “Underlying Action”).

13. ln the Underlying Action, Rosanne Cavataio, lndividually and as
Executrix of the Estate of Nicholas Cavataio (the ”Estate”) alleges that she was appointed
as the Executrix of the Estate of Nicholas Cavatalo (“Cavataio”) on August 29, 2014.

l4. in the Underlying Action, the Estate alleges that Metropolitan
"l`ransit Authority (”MTA”) and Triborough Bridge and Tunnel Authority (“TBTA”), each

owned a certain lot or parcel of land located at 4260 Throgs Necl< Expressway, Bronx,

New York (the “Project”).

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l5. in the Underlying Action, the Estate alleges that, on August 5,

ZOi 4, Cavataio, while working for Hellman Electric Corporation {“Hellman”) on the
Proiect, was fatally injured (the ”Accident”).

ié. The Estate alleges that Hellman had a contract with the MTA and the
TBTA.

17. in the Underlying Action, the Estate alleges that defendants Monarch
Electric Company (“Monarch”) and Milier Auto leasing Corp, a/l</a Miller Trucl< l.easing
Company (“Miller”) were the owner(s) of a motor vehicle bearing New lersey State
license plate number XAPU46 (the “Miller Trucl<").

l8. Upon information and belief, the Miller Trucl< which was owned by
Miiler, but was leased to Monarch at the time of the Accident.

i9. in the Underlying Action, the Estate alleges that the Accident was
caused by the negligence of all defendants, including, Monarch and Miller.

20. On or about August 26, 2014, the Estate served a Notice of Claim
upon the City of New Yorl<, the MTA and the TBTA.

2 l. The Estate alleges that, on August 5, 2014, Cavataio was an
employee of l-leiiman, and was present and working on the Proiect when he was fatally
injured.

22. On or about lanuary lS, ZOl 5, in the Underlying Action, the MTA
and the TBTA commenced a third-party action against Hellman, seeking common law

contribution and indemnity and contractual indemnity.

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23. in the third-party action, the MTA and the TBTA allege that the
TBTA entered into a written contract with Hellman,, whereby Heliman agreed to supply
and to perform certain work, labor and/or services for the Proiect.

24. Prior to August 5, ZOl 4, the TBTA and/or the MTA entered into a
contract known as No. Tl\l 'l'ask 26 entitled Furnish, Deliver and install an integrated
Electronic Security System at the Throgs Neck Bridge (the “Contract").

25. Pursuant to the Contract, Heilman, as Contractor, was to provide all
work and furnish all materials, labor, equipment, and other items necessary to complete
the installation of cameras for the Proiect.

26. Upon information and belief, at the time of the Accident, Cavataio
was acting in the course of his employment with Hellman on the Proiect pursuant to the
Contract.

27. The Contract provides in relevant part, as follows:

7. lNSURANCE.

ARTlCLE 6.05 REQUIRED lNSLlRANCE
The Contractor shall procure, at its sole cost and expense, and

shall maintain in force at all times during this Contract through

completion of the contractual warranty period, policies of
insurance as set forth in APPENDlX ], lNSURANCE
REQUIREMENTS.

l. Workers' Compensation insurance (inciuding
Ernployer’s l.iability l surance limits of not less than
$2,000,000 which limit may be met by a combination
of primary and excess insurance) meeting the statutory
limits oi New York State. The policy shall be endorsed

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to include Longshore and i-iarbor Workers’
Compensation and/or i\'laritlme Coverage(s), when
applicable

2. Commerclal General liability insurance (l. S. O. 200l
Form or equivalent approved by the Authority in the
Contractors name with limits of liability specifically written
for this Contract in the amount of at least the amount set
forth in Paragraph A above $S,OO0,000 Generai
Aggregate l.imlt (other than products-completed
operations)/$$,OO0,000 Products/Completed Operations
Aggregate i.imit on a combined single limit basis for injuries
to persons (including death) and damage to property. The
limits may be provided in the form of a primary policy or
combination of primary and umbrella excess policy. When
the minimum contract amounts can only be met when
applying the umbrella excess policy, the umbrella excess
policy must follow form of the underlying policy and be
extended to “drop down” to become primary in the event
primary limits are reduced or aggregate limits are
exhausted. Such insurance shall be primary and non-
contributory to any other valid and collectible insurance
and must be exhausted before implicating any
Authority/b/iTA policy availabie.

Such policy should be written on an occurrence form, and
shall inciude:

¢ Contractuai coverage for liability assumed by the
Contractor under this agreement;

~ Personai and Advertising injury Coverage;

~ Products-Compieted Operations extending at least one
year after project completion;

o independent Contractors Coverage;

v "XCU" coverage (Explosion, Coliapse, and
Underground Hazards) where necessary;

s Additional insured Endorsement (l.S,Ot Form CG 20
l0 l l85 version are equivalent approved by the
Authority naming Triborough Bridge and Tunnel
Authority (TBTA), Metropoiitan Transportation

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Authority (MTA) and its subsidiaries and affiliates and
the State of New York.

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3. Business Automobile liability insurance Policy (l.S.O.
Form CA 00 Ol lO Ol or equivalent approved by the
Authority) if vehicle enters the Authority's property or is
used as part of service provided, in the Contractor's name
with limits of liability of at least $Z,GOO,C)OO each accident
for claims for bodily injuries (including death) to persons
and for damage to property arising out of the ownership,
maintenance or use of any owned, hired or non-owned
motor vehicle.

28. Wausau issued a Commercial General l.iability Poiicy, No. TBC-ZZl-
093853-Ol 4, with a policy period from ]une 27, 20l 4 to june 27, 20l 5, to iiellman
as the first i\lamed insured (the “Wausau Policy"').

29. 'l`he Wausau Policy contains an applicable excess “Other lnsurance"’

provision.

AS AND FOR A FlRST CLAlM FOR RELlEF
(Against l-larleysville)

30. Wausau repeats, realleges, and reiterates each and every allegation

contained in paragraphs ”l " through ”29” of this Complalnt as if more fully set forth

herein.

3i. Upon information and belief, Hellman complied with its obligations
under the Contract, in part, by obtaining business automobile liability insurance from

l~larleysville,

32. Upon information and belief, in connection with the Contract,

l-lellman provided the TBTA a certificate of insurance naming Harieysville as the provider

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of business automobile liability coverage under Policy, No. BA00000019507L, with a
policy period of]une 27, 2014 to june 27, 20l 4 (the “Certificate of lnsurance").

33. The Certificate of insurance specifically refers to the Contract, and
llarleysvilie’s Policy identifies any auto as a “'covered auto"' regardless of ownership,

34. Pursuant to the Certificate of lnsurance, l~larleysville’s policy also
covers hired autos, owned autos, and non-owned autos.

35. Llpon information and belief, Harleysville issued Business Automobile
policy, No. BA00000019507L, with a policy period from june 27, 2014 to june 27,
2015, to Hellman, as the first i\lamed insured (the ”l-iarieysville Policy”).

36. i,lpon information and belief, the Harleysvllle Policy has the following
insuring agreement:

We will pay all sums an “insured" legally must pay as damages

because of "bodily injury” or ”property damage” to which this

insurance applies, caused by an “accident” and resulting from

the ownership, maintenance or use of a covered ”auto.”

37. l.lpon information and belief, the l-larleysville Poiicy defines who is an
insured, in sum or substance, as follows:

l. Who is An insured

The following are ”insureds”:

a. You for any covered ”auto"’.

b. Anyone else while using with your permission a covered
“auto“ you own, hire or borrow except:

(l) The owner or anyone else from whom you hire or
borrow a covered “auto." This exception does not

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apply if the covered “auto” is a ”trailer"’ connected to
a covered “auto" you own.

(2) Your “empioyee” if the covered ”auto” is owned
by that “employee” or a member of his or her
household

(3) Someone using a covered ”auto” while he or she is
working in a business of selling, servicing, repairing,
parking or storing ”autos” unless that business is yours.
{4) Anyone other than your employees or partners

(if you are a partnership), a member (if you are a
limited liability company), a lessee or borrower or any
of their ”employee” while moving property to or from
a covered ”auto”.

(5) A partner (if you are a partnership), or a member
(if you are a limited liability company) for a covered

”auto” owned by him or her or a member of his or her
household

c. Anyone liable for the conduct of an “insured"
described above but only to the extent of that liability2

38. ln the Underlying Action, the Estate alleges a claim for which the
MTA and the TBTA qualify as insureds under the l-larleysville Policy.

39. ln the Underlying Action, the MTA and the TBTA allege a claim for
which Hellman qualifies as an insured under the Harleysville Policy.

40. l.lpon information and belief, on or about August 6, ZOl 4, Hellman
and/or l-lellman’s agent notified Harleysville of the Accident.

4i. llan information and belief, the MTA, on its own behalf and behalf

of the TBTA, notified Harleysviile of the Accident.

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42. By letter dated August 27, ZOi 4, l-larleysville acknowledged receipt
of notice of the Accident by Heilrnan and the MTA and/or the TBTA.

43. in said letter, Harleysville disclaimed any duty to defend or indemnify
the MTA, the TBTA, and Hellman for the l.lnderlying Action.

44. The sole basis for the August 27, 2014 disclaimer was that the
vehicle involved was not used, owned, or maintained by Hellman.

45. l~larleysville failed to raise any other basis for its disclaimer of
coverage,, and thereby waived and is estopped from asserting any other basis for denying
coverage to the MTA, the TBTA, and l-lellman for the Underlying Action.

46. By letter dated February 25, 2015, Wausau responded to
Harleysville's August 27, ZOl 4 disclaimer, requesting that Harleysville reconsider its
coverage position and arguing that the claim triggers the additional insured coverage
afforded under the Harleysville Policy because: (l) the truck in question was used by
Hellman within the meaning of the Harleysville Policy, and (2) the MTA and the TBTA,
which have been sued for vicarious liability for the conduct of l-lellmanlr qualify as insureds
under the Harleysville Policy.

47. To date, l~larleysville has not accepted the tender.

48. Harleysville has failed and refused to provide the defense to Hellman,
the MTA, and the TBTA for the claims alleged in the Underlying Action.

49. ilarleysviile has; to date;l wrongfully declined to provide coverage for

Hellman, the MTA, and the TBTA for the Underlying Action.

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50. By failing to timely disclaim coverage, Harleysville waived and/or is
estopped from raising any conditions or exclusions as a defense to coverage.

5 i. Based on their respective ”Other lnsurance” provisions, the coverage
provided by the Wausau Policy to Hellman, the MTA, and the TBTA for the Underlying
Action is excess to the coverage provided by the Harleysville Policy.

52. As a result of liarleysville's breach of its duty to defend, Wausau has
been forced to drop down and provide a defense to Hellman for the Underlying Action.

53. Wausau seeks a determination of its rights with regard to the
ilarleysviile Policy, including a declaratory judgment that Harleysville is required to defend
and indemnify the MTA, the TBTA, and Hellman for the Underlying Action, and a
declaratory judgment that such coverage would apply on a primary basis before coverage
under the Wausau Policy applies to MTA, the TBTA, and Hellman, for the Underlying
Action.

54r Wausau has no adequate remedy at law.

AS AND FOR A SECOND CLAlM FOR REL|EF
(Against Travelers)

5 5. Wausau repeats, realleges, and reiterates each and every allegation

contained in paragraphs “l ” through ”54” of this Complaint as if more fully set forth

herein.

56. Upon information and belief, Travelers issued Business Automobile
policy, No, TCZl-CAP-4ZSZB443-l 3, to Monarch, as the first l\lamed lnsured, which

was in effect on August 5, 20l 4 (the “Travelers Policy”).

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5?. Upon information and belief, the Travelers Policy defines who is an
insured, in sum or substance, as follows:
2. Who is An insured
The following are “insureds”:
a. You for any covered “auto”.

b. Anyone else while using with your permission a covered
"auto" you own, hire or borrow except:

{l) The owner or anyone else from whom you hire or
borrow a covered “auto." This exception does not
apply if the covered “auto” is a "‘trailer" connected to
a covered “auto” you own.

(2) Your “employee" if the covered “auto” is owned
by that h'employee”' or a member of his or her
household.

(3) SOmeone using a covered ”auto" while he or she is
working in a business of selling, servicing, repairing,
parking or storing ”autos” unless that business is yours.

(4) Anyone other than your employees or partners

{if you are a partnership), a member (if you are a
limited liability company), a lessee or borrower or any
of their "'employee” while moving property to or from
a covered "auto”.

(5) A partner (if you are a partnership), or a member
(if you are a limited liability company) for a covered
”auto” owned by him or her or a member of his or her
household

c. Anyone liable for the conduct of an “insured”
described above but only to the extent of that liability,

58. in the llnderlying Action, the Estate alleges a claim for which the

MTA and the TBTA qualify as insureds under the Travelers Policy.

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59. ln the Underlying Action, the MTA and the TBTA allege a claim for
which ilellman qualifies as an insured under Traveiers’ policy.

oO. By letter dated ]anuary l 5, 20i 5, Wausau tendered the defense and
indemnity of Hellman, the MTA, and the TBTA to Travelers for the Underlying Action.

ol. To date, Travelers has not accepted the tender.

62. Travelers has failed and refused to provide the defense to llellmanir
the MTA, and the TBTA for the claims alleged in the Underlying Action.

63. Travelers has, to date, wrongfully declined to provide coverage for
l-lellman, the MTA, and the TBTA for the Underlying Action.

64. By failing to timely disclaim coverage, Travelers waived and/or is
estopped from raising any conditions or exclusions as a defense to coverage.

65. Based on their respective ”Other lnsurance" provisions, the coverage
provided by the Wausau Policy to l-lellman, the MTA, and the TBTA for the Underlying
Action is excess to the coverage provided by Travelers’ policy.

66. As a result of Travelers’ breach of its duty to defend, Wausau has
been forced to drop down and provide a defense to Hellman for the Underlying Action.

o7. Wausau seeks a determination of its rights with regard to the Travelers
Policy, including a declaratory judgment that Travelers is required to defend and indemnify
Hellman, the MTA, and the TBTA for the Underlying Action, and a declaratory judgment
that such coverage would apply on a primary basis before coverage under the Wausau
Policy applies to Hellman, the MTA and the TBTA, for the Llnderlying Action.

68. Wausau has no adequate remedy at law.

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AS AND FOR A THlRD CLAlM FOR RELlEF
(Against EESlSP)

69. Wausau repeats, realleges, and reiterates each and every allegation
contained in paragraphs “i ” through ”68” of this Complaint as if more fully set forth

herein.

70. in the Underlying Action, the Estate alleges a claim for which

Hellman qualifies as an insured under EESlSP’s Policy.

7l. By letter dated ]anuary lS, ZOl 5, Wausau tendered the defense and

indemnity of Hellman for the Llnderlying Action to EESlSP.

72. By letter dated April 24, ZOl 5, Wausau re-tenclered the defense and
indemnity of Hellman for the Underlying Action to EESISP.

73. To date, EESISP has not accepted the tender by Wausau.

74. EESISP has failed and refused to provide the defense to Hellman for
the claims alleged in the Underlying Action.

75. EESlSP has, to date, wrongfully declined to provide coverage for
Hellman for the Underlying Action.

76. By failing to timely disclaim coverage, EESlSP Waived and/or is
estopped from raising any conditions or exclusions as a defense to coverage

77. Based on their respective ”Other lnsurance” provisions, the coverage
provided by the Wausau Policy to l-lellman for the Underlying Action is excess to the

coverage provided by EESlSP’s policy.

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78. As a result of EESISP’$ breach of its duty to defend, Wausau has been
forced to drop down and provide a defense to Hellman for the Underlying Action.

79. Wausau seeks a determination of its rights with regard to EESlSP’s
policy, including a declaratory iudgment that EESlSP is required to defend and indemnify
Hellman for the Underlying Action, and a declaratory iudgment that such coverage would
apply on a primary basis before coverage under the Wausau Policy applies to l-leliman, for
the l_lnderlying Action.

80. Wausau has no adequate remedy at law.

AS AND FOR A FOURTH CLAlM FOR REL!EF
(Money ]udgment against Harleysville)

81. Wausau repeats, realleges, and reiterates each and every allegation
contained in paragraphs “l ” through “80” of this Complaint as if more fully set forth
herein.

82. As a result of Harleysville's failure to acknowledge that it owes a duty
to defend the MTA, the TBTA, and l~ieiiman, Wausau has been required to pay for the
defense of the MTA, the TBTA, and l~lellman for the Underlying Action.

83. As a result of Harleysville’s failure to acknowledge its primary duty to
defend MTA, the TBTA, and Hellman, Wausau has incurred substantial attorneys’ fees and
other costs to defend the MTA, the TBTA, and Hellman for the Underlying Action.

84. Harleysville failed and refused to acknowledge its primary coverage
obligation and to reimburse Wausau for costs incurred to defend the M'i`A, the TB'i`A, and

Hellman in the Underlying Action.

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85. As a result of the foregoing, Wausau is entitled to a money judgment
against Harleysyille in an amount equal to What it has incurred and will incur to defend
MTA, the TBTA, and Hellman in the Llnderiying Action, in an amount to be determined

by the Court.

AS AND FOR A i-'lFTl-l CLA|M FOR REL!EF
(Money ]udgment against Travelers)

86. Wausau repeats, realleges, and reiterates each and every allegation
contained in paragraphs ”l ” through “85” of this Complaint as if more fully set forth
herein.

87. As a result of Travelers’ failure to acknowledge that it owes a duty to
defend the MTA, the TBTA, and Heilman, Wausau has been required to pay for the
defense of the MTA, the TBTA and l~lellman for the Underlying Action.

88. As a result of Travelers’ failure to acknowledge its primary duty to
defend the MTA, TBTA, and Hellman, Wausau has incurred substantial attorneys’ fees and
other costs to defend MTA, the TBTA, and Hellman for the Underlying Action.

89. Travelers failed and refused to acknowledge its primary coverage
obligation and to reimburse Wausau for costs incurred to defend the MTA, the TBTA, and
l~iellman in the Underlying Action.

90. As a result of the foregoing, Wausau is entitled to a money judgment
against Travelers in an amount equal to What it has incurred and will incur to defend the
MTA, the TBTA, and Hellman in the Underlying Action, in an amount to be determined

by the Court.

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AS AND FOR A SIXTH CLAlM FOR RELiEF
(Money ]udgment against EESlSP)

91. Wausau repeats, realleges, and reiterates each and every allegation
contained in paragraphs " i " through “90” of this Complaint as if more fully set forth
herein.

92. As a result of EESISP’s failure to acknowledge that it owes a duty to
defend Hellman, Wausau has been required to pay for the defense of Hellman for the
i.inderlying Action.

93. As a result of EESlSP’s failure to acknowledge its primary duty to
defend l~leliman, Wausau has incurred substantial attorneys’ fees and other costs to defend
Hellman for the Underlying Action.

94. EESlSP failed and refused to acknowledge its primary coverage
obligation and to reimburse Wausau for costs incurred to defend Hellman in the
Underlying Action.

95. As a result of the foregoing, Wausau is entitled to a money iudgment
against EESlSP in an amount equal to what it has incurred and will incur to defend Hellman
in the Underlying Action, in an amount to be determined by the Court.

WHEREFORE, plaintiff EMPLOYERS INSURANCE COMPANY OF
WAUSALl demands judgment as follows;

l. On the first claim for relief, a declaratory judgment determining the
respective rights and obligations of plaintiff EMPLOYERS iNSURANCE COM?AN`{ OF

WAUSAU and defendant HARLEYSVILLE PREFERRED lNSURANCE COMPANY With

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respect to their liability insurance coverage obligations for the MTA, the TBTA, and
Hellman for the Underlying Action, including a declaratory judgment that Harleysville is
required to defend and indemnify the MTA, the TBTA, and Hellman under the
Harleysville Policy for the Underlying Action, and a declaratory iudgment that such
coverage would apply on a primary basis before coverage under the Wausau Policy, if any,
applies to MTA, the TBTA, and Hellman, for the Llnderlying Action;

2, On the second claim for relief, a declaratory judgment determining
the respective rights and obligations of plaintiff EMPLOYERS INSURANCE COMPANY
OF WAUSAU and defendant The TRAVELERS lNDEMNlTY COMPANY with respect to
their liability insurance coverage obligations for Hellman, the MTA, and the TBTA for the
Underlying Action, including a declaratory judgment that Travelers is required to defend
and indemnify Hellman, the MTA, and the TBTA under the Travelers Policy for the
Underlying Action, and a declaratory judgment that such coverage Would apply on a
primary basis before coverage under the Wausau Policy, if any, applies to Hellman, the
MTA, and the TBTA, for the Underlying Action;

3. On the third claim for relief, a declaratory judgment determining the
respective rights and obligations of plaintiff EMPLOYERS lNSURANCE COMPANY OF
WAUSAU and defendant THE ELECTRICAL EMPLOYERS SELF lNSURANCE SAFETY
PLAN with respect to their liability insurance coverage obligations for l-lellman for the
Llnderlying Action, including a declaratory judgment that EES!SP is required to defend and

indemnify l-lellman under EESlSP's policy for the Underlying Action, and a declaratory

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judgment that such coverage would apply on a primary basis before coverage under the
Wausau Policy, if any, applies to Heliman for the Underlying Action;

4. On the fourth claim for relief, a money judgment in favor of plaintiff
EMPLOYERS INSURANCE COMPAN¥ OF WAUSAU and against defendant
HARLEYSVILLE PREFERRED lNSURANCE COMPANY, in an amount to be determined
by the Court;

5. Gn the fifth claim for relief, a money judgment in favor of plaintiff
EMPLOYERS iNSLlRANCE COMPANY OF WAUSAU and against defendant THE
TRAVELERS lNDEMNlTY COMPANY, in an amount to be determined by the Court;

6. On the sixth claim for relief, a money judgment in favor of plaintiff
EMPLOYERS lNSURANCE COMPANY OF WAUSAU and against defendant THE
ELECTRICAL EMPLOYERS SELF lNSURANCE SAFETY PLAN, in an amount to be

determined by the Court; and

7. Granting plaintiff EMPLOYERS lNSURANCE COMPANY OF

WAUSAU recovery of the costs and disbursements of this action, together with such

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other and further relief as this Court deems just and proper.

Dated: New York, New York
May i5, 2015

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Yours, etc.,

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' aj W *"

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